           Case 19-3053, Document
      Case 1:25-cv-10676-BEM      25, 10/02/2019,
                              Document            2670077,
                                         59-6 Filed        Page1Page
                                                     04/08/25    of 1 1 of 1




                      UNITED STATES COURT OF APPEALS
                                 FOR THE
                              SECOND CIRCUIT

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
2nd day of October, two thousand nineteen.

Before:     Susan L. Carney,
                   Circuit Judge.
________________________________

 H        I    L             ,
                                                  ORDER
              Petitioner,
                                                  Docket No. 19-3053
 v.

 William P. Barr, United States Attorney
 General

           Respondent.
 ________________________________


        IT IS HEREBY ORDERED that the Respondent is ORDERED TO SHOW CAUSE why
Petitioner was removed despite the filing of a motion for a stay of removal. Respondent is further
ordered to inform the Court of Petitioner’s current address, and to describe the efforts underway
(as represented in the Government’s letters dated September 27 and 30, 2019) to facilitate his
return to the United States. The response is due within seven days of the date of this order, with
updates on Petitioner’s status to be filed thereafter at seven-day intervals.

       It is further ordered that Luis Mancheno, Immigration Law Unit, The Legal Aid Society,
199 Water St. 3rd Fl., New York, NY, 10038, is appointed as pro bono counsel for the limited
purpose of representing Petitioner’s interests until his return is effected.


                                                    For the Court:

                                                    Catherine O’Hagan Wolfe,
                                                    Clerk of Court




                                                                                          EXHIBIT F
